Case 5:20-cv-00046-OLG Document 71-3 Filed 05/14/20 Page 1 of 4




                Exhibit B
        Case 5:20-cv-00046-OLG Document 71-3 Filed 05/14/20 Page 2 of 4




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


JARROD STRINGER, et al.

                       Plaintiffs,
       v.

RUTH HUGHS, in her official capacity as Texas              Civil Action Case No. 5:20-cv-00046-
Secretary of State and STEVEN C. MCCRAW, in                OLG
his official capacity as Director of the Texas
Department of Public Safety


                       Defendants.

    DECLARATION OF ALEXANDER EDELMAN IN SUPPORT OF PLAINTIFFS’
              MOTION FOR A PRELIMINARY INJUNCTION

       Pursuant to 20 U.S.C. § 1746 I, Alexander Edelman, testify that:

       1.      I am over the age of 18, have personal knowledge of the facts below, and can

competently testify to their truth.

       2.      I currently serve as the National Field Director for DCCC, also known as the

Democratic Congressional Campaign Committee. I have held this position since February 2019.

       3.      The mission of DCCC is to elect Democratic candidates to the U.S. House of

Representatives. DCCC works to accomplish this mission by, among other things, funding voter

registration drives to register new voters who may support and vote for Democratic candidates

across the country.

       4.      For the 2020 election cycle, DCCC has identified at least eight congressional

districts in Texas (Congressional Districts 2, 7, 10, 21, 22, 23, 24, 31, and 32) as targeted races, in

which it will expend resources to support the Democratic candidate

       5.      As the National Field Director, I am responsible for the planning and execution of
DCCC’s National Field Program, which includes the supervision of field staff in congressional
         Case 5:20-cv-00046-OLG Document 71-3 Filed 05/14/20 Page 3 of 4




districts where DCCC is actively working to elect Democratic candidates to the U.S. House of

Representatives. DCCC plans to spend even more on voter activities in Texas for the 2020 election,

including on GOTV, voter education, and voter registration.

        6.      DCCC has already invested hundreds of thousands of dollars dedicated to

specifically registering voters in Texas. DCCC recently spent nearly $400,000 to compensate a

consultant, Sisneros Strategies, for providing voter registration services in Texas Congressional

District 23. This is a specific example of one of many voter registration expenditures DCCC

expects to incur to register voters in Texas for the 2020 election.

        7.      DCCC plans to ultimately invest millions of dollars into registering and mobilizing

voters in Texas in advance of the 2020 election. DCCC uses voter registration not only to expand

the pool of individuals who are eligible to vote for Democratic candidates, but also to have

important conversations with people about the importance of voting and about important causes to

the Democratic Party.

        8.      DCCC supports and participates in what is commonly referred to as the

“coordinated campaign,” in which it works collaboratively with the state party committee and

other national Democratic committees to elect Democrats up and down the ticket within the state.

In advance of the 2020 general election, DCCC intends to give significant sums to the Texas

Democratic Party to spend on its field program, which will necessarily involve, among many

things, voter registration efforts, to help elect Democratic candidates from Texas to national office.

DCCC has already transferred over $145,000 to the Texas Democratic Party this election cycle to

support its registration efforts.

        9.      In fact, the Texas Democratic Party recently announced plans to launch the largest

voter registration effort in the state’s history. See Exhibit A. DCCC plans to actively support this

effort financially and with staffing resources.

        10.     Defendants’ continued refusal to follow federal and constitutional law by not

allowing for automatic voter registration with online transactions makes DCCC’s work in Texas
significantly more costly. DCCC is aware of Defendants’ continued violations and believes it must
          Case 5:20-cv-00046-OLG Document 71-3 Filed 05/14/20 Page 4 of 4




register and turn out additional voters to account for voters who mistakenly believe they have

updated their registration and as a result are unable to vote, as happened to the original plaintiffs

in this action.

          11.     In particular, Defendants’ conduct forces DCCC to spend additional resources in

Texas on get out the vote (“GOTV”) and voter persuasion efforts, diverting those funds from other

mission-critical efforts nationwide. DCCC has concentrated its limited resources on efforts in

various battleground states, with remaining resources going toward non-battleground states. But

now, DCCC must divert resources—including funds, personnel, and time—from GOTV, voter

education, and voter registration efforts in other states, including important battleground states, to

compensate for the issues caused by Defendants’ conduct.

          12.     Not only is DCCC diverting resources—including funds, personnel, and time—

from its activities in other states, but it is forced to divert resources within Texas. For example,

DCCC may have to divert resources from directly making contributions to campaigns in Texas to

funding voter education and registration efforts in order to combat the effects of Texas’ refusal to

offer simultaneous voter registration to individuals who update their driver’s license information

online.



I declare under penalty of perjury that the foregoing is true and correct.



Executed on May 14, 2020.
                                                      ________________________
                                                      Alexander Edelman
                                                      National Field Director
                                                      DCCC
